Case 16-24825-JAD             Doc 22     Filed 06/09/17 Entered 06/09/17 13:24:00                 Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                             : Bankruptcy No. 16-24825-TPA
                                                   :
JOHN W. SORENSEN                                   : Chapter 07
CAMBRIA L. SORENSEN                                :
                  Debtor                           :
                                                   :
   Natalie Lutz Cardiello, Trustee                 :
        Movant                                     :
                                                   :
     v.                                            :
                                                   :
   No Respondent                                   :


                        NOTICE OF HEARING AND RESPONSE DEADLINE
                    ON TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL
    REAL ESTATE SERVICES AND COLDWELL BANKER REAL ESTATE TO
 PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

TO THE RESPONDENT(S):

          You are hereby notified that the Movant seeks an order affecting your rights or property.

         You are further notified to file with the Clerk and serve upon the undersigned attorney for Movant a
response to the motion no later than June 29, 2017, i.e., seventeen (17) days after the date of service below,
in accordance with the Federal Rules Of Bankruptcy Procedure, Local Rules And Procedures of this Court,
and the procedure of the Presiding Judge as found on the Judge’s web page at www.pawb.uscourts.gov. If
you fail to timely respond, the Motion may be granted by the Court by default without a hearing. Please
refer to the Judge’s calendar posted on the web site at www.pawb.uscourts.gov to verify if a default order
was signed or if the hearing will go forward as scheduled.

          You should take this to your lawyer at once.

        A hearing will be held on July 11, 2017 at 10:00 AM before Judge Deller in Courtroom D, 54th
Floor U.S. Steel Tower, 600 Grant Street, Pittsburgh, PA 15219. Only a limited time of 10 minutes is being
provided on the calendar. No witnesses will be heard. If there is an issue of fact, an evidentiary hearing will
be scheduled at a later date by the Court. An order granting the relief sought may be entered and the hearing
may not be held if you do not timely file and serve a written response.

Date of Service: June 12, 2017                           Natalie Lutz Cardiello, Esquire
                                                         Attorney for Movant/Applicant

                                                         /s/Natalie Lutz Cardiello
                                                         Signature

                                                         107 Huron Drive
                                                         Carnegie, PA 15106
                                                          (412) 276-4043
                                                         Attorney ID #51296
